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                                  FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 E.R.K., by his legal guardian R.K.;        No. 12-16063
                 R.T.D., through his parents R.D. and
                 M.D.; HAWAI’I DISABILITY RIGHTS               D.C. No.
                 CENTER, in a representative capacity      1:10-CV-00436-
                 on behalf of its clients and all others      DAE-KSC
                 similarly situated,
                                  Plaintiffs-Appellants,
                                                             OPINION
                                   v.

                 STATE OF HAWAII DEPARTMENT OF
                 EDUCATION,
                              Defendant-Appellee.


                       Appeal from the United States District Court
                                for the District of Hawaii
                        David A. Ezra, District Judge, Presiding

                                   Argued and Submitted
                             June 12, 2013—Honolulu, Hawaii

                                   Filed August 28, 2013

                        Before: Jerome Farris, Dorothy W. Nelson,
                        and Jacqueline H. Nguyen, Circuit Judges.

                              Opinion by Judge D.W. Nelson
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                                           SUMMARY*


                        Individuals with Disabilities Education Act

                    Affirming in part and reversing in part the district court’s
                judgment after a bench trial in a class action, the panel held
                that a Hawaii statute violated federal law by establishing an
                age limit on public education.

                    The Hawaii statute, dubbed “Act 163,” barred both
                general-education students and students who received special-
                education services under the Individuals with Disabilities
                Education Act from attending public school after the last day
                of the school year in which they turned 20. The plaintiffs
                alleged that the state violated the IDEA, the Americans with
                Disabilities Act, and the Rehabilitation Act by denying public
                education to special-needs students aged 20 to 21 while
                offering it, in the form of a network of adult-education
                schools called Community Schools for Adults, to students
                without special needs. The Community Schools for Adults
                were exempt from the strictures of Act 163.

                    The panel held that Act 163 violated the IDEA, which
                restricts the power of states to establish age limits on special-
                education eligibility in certain circumstances. In an exception
                to these restrictions, 20 U.S.C. § 1412(a)(1)(B)(I) provides
                that a state’s duty to provide special education does not
                extend to children aged 18 through 21 “to the extent that [the
                duty’s] application to those children would be inconsistent
                with State law or practice . . . respecting the provision of

                    *
                   This summary constitutes no part of the opinion of the court. It has
                been prepared by court staff for the convenience of the reader.
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                public education to children in those age ranges.” Referring
                to the IDEA’s legislative history, the panel held that
                § 1412(a)(1)(B)(I) meant that Hawaii could not deny special
                education to disabled students aged 18 through 21 if it in fact
                provided “free public education” to nondisabled students in
                that range of ages. The panel concluded that the diploma
                programs offered by the Community Schools for Adults
                constituted free public education because they were provided
                at public expense, under public supervision and direction, and
                without charge, and they involved secondary education.
                Accordingly, the panel reversed the district court’s judgment
                for the State of Hawaii Department of Education on the IDEA
                claim.

                    The panel affirmed the district court’s judgment for the
                Department of Education on the plaintiffs’ disability
                discrimination claims under the Americans with Disabilities
                Act and the Rehabilitation Act, holding that the plaintiffs did
                not establish the existence of reasonable accommodations that
                would make the Community Schools for Adults generally
                accessible to disabled students. The panel remanded the case
                to the district court.
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                                         COUNSEL

                Paul Alston, Alston Hunt Floyd & Ing, Honolulu, Hawaii;
                Jason H. Kim (argued), Schneider Wallace Cottrell Brayton
                Konecky, LLP, San Francisco, California; Matthew C.
                Bassett & Jennifer V. Patricio, Hawaii Disability Rights
                Center, Honolulu, Hawaii, for Plaintiffs-Appellants.

                David M. Louie, Carter K. Siu (argued), and Holly T.
                Shikada, Department of the Attorney General, Honolulu,
                Hawaii, for Defendant-Appellee.


                                         OPINION

                NELSON, Senior Circuit Judge:

                    Are state-funded high school diploma programs for adults
                who never graduated from high school a form of “public
                education”? 20 U.S.C. § 1412(a)(1)(B)(I). We conclude that
                they are. Accordingly, we hold that a Hawaii statute
                establishing an age limit on public education violates federal
                law, and reverse in part the district court’s entry of judgment
                in favor of the Defendant-Appellee.

                                        Background

                    In 2010, the Hawaii state legislature enacted a law,
                dubbed “Act 163,” barring students from attending public
                school after the last day of the school year in which they
                turned 20:

                       No person who is twenty years of age or over
                       on the first instructional day of the school
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                       year shall be eligible to attend a public school.
                       If a person reaches twenty years of age after
                       the first instructional day of the school year,
                       the person shall be eligible to attend public
                       school for the full school year.

                Haw. Rev. Stat. § 302A-1134(c). The law applies to both
                general-education students and students who receive special-
                education services under the Individuals with Disabilities
                Education Act (“IDEA”), 20 U.S.C. § 1400 et seq.

                    The State of Hawaii Department of Education (“DOE”)
                administers public education in the state. In addition to
                conventional public high schools, the agency operates a
                network of adult-education schools called the Community
                Schools for Adults. DOE materials explain that the
                Community Schools for Adults offer “Adult Secondary
                Education” in the form of “tuition-free opportunities for
                adults and out-of-school youth to earn a high school
                diploma[.]” The DOE offers two diploma programs: the
                General Education Development (“GED”) program and the
                Competency Based program (“CB”).

                    The GED program prepares students to take the GED test,
                a national standardized high school equivalency exam.
                Students who achieve adequate scores on the GED test
                qualify for a high school diploma if they have also completed
                at least one semester of high school work at either an
                accredited high school in Hawaii or a Community School for
                Adults. A high school diploma earned via the GED program
                permits students to seek admission to the University of
                Hawaii system.
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                    The CB program is a three-semester life-skills program
                designed to help students become “(1) Functionally literate
                adults; (2) Productive and contributing citizens/community
                members; (3) Effective family members; and (4) Productive
                workers.” The program emphasizes skills like household
                finance, civic participation, and health maintenance. To
                obtain a high school diploma in the CB program, students
                must complete all five CB courses, earn adequate scores on
                the various CB exams, and complete at least one “Career
                Goal,” such as finding a job or completing one credit of work
                at an accredited postsecondary institution.

                     The Community Schools for Adults are exempt from the
                strictures of Act 163. Both the GED and CB programs are
                open to any student 18 or older who lacks a high school
                diploma.1

                    These adult education programs have sparked litigation
                because they do not offer IDEA services to disabled students.
                Students who require special-education services to participate
                in the classroom cannot pursue diplomas in the Community
                Schools for Adults after aging out of public education under
                Act 163. But students without special needs can and do
                transition directly from Hawaii public high schools to the
                Community Schools for Adults.2



                    1
                   Sixteen- and seventeen-year-old students are eligible to enroll in the
                Community Schools for Adults if they have officially withdrawn from
                high school.
                        2
                     Between 2010 and 2012, 113 general-education students became
                ineligible for high school because of Act 163, and four enrolled in an adult
                school.
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                    Soon after Act 163 became law, four disabled students
                and their parents, together with the Hawaii Disability Rights
                Center, filed a class-action complaint in federal district court.
                The complaint asserted claims under the IDEA, the
                Americans with Disabilities Act (“ADA”), and the
                Rehabilitation Act, as well as an estoppel claim. The IDEA
                claim alleged that Act 163 violated federal law by denying
                public education to special-needs students aged 20 to 21
                while offering it, in the form of the Community Schools for
                Adults, to students without special needs. The claims under
                the ADA and Rehabilitation Act alleged that the DOE’s
                exclusion of disabled students from adult education
                constituted disability discrimination under those statutes. The
                estoppel claim is not at issue in this appeal.

                    The district court certified a class consisting of all
                Hawaiian students entitled to special-education services but
                made ineligible for public education by Act 163. The
                Plaintiffs and the DOE filed cross-motions for summary
                judgment. The district court granted summary judgment to
                the DOE on the estoppel claim, but denied summary
                judgment to both parties on the remaining claims.

                    The parties then tried the case in a one-day bench trial.
                After trial, the district court ruled for the DOE on all three
                claims at issue. On the IDEA claim, the court held that Act
                163 was consistent with federal law because the Community
                Schools for Adults did “not provide the equivalent of a
                secondary school education to general education students,”
                and because the DOE had no “systemic practice of offering
                the same or equivalent education to general education
                students who have aged out while eliminating education
                services for special education students.” On the ADA and
                Rehabilitation Act claims, the court held that the Plaintiffs
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                had made a prima facie case of disability discrimination, but
                did not meet their burden of identifying a reasonable
                accommodation that would allow disabled students to benefit
                meaningfully from the adult schools. The Plaintiffs3 timely
                appealed.

                                               Analysis

                1. IDEA claim.

                    We first must decide whether Act 163 runs afoul of the
                IDEA, which restricts the power of states to establish age
                limits on special-education eligibility in certain
                circumstances. We hold that it does.

                    The IDEA requires states to provide a “free appropriate
                public education” to all children with disabilities residing in
                the state “between the ages of 3 and 21, inclusive[.]”
                20 U.S.C. § 1412(a)(1)(A). As a result, a student’s eligibility
                for IDEA services ordinarily ends on his twenty-second
                birthday. See L.A. Unified Sch. Dist. v. Garcia, 669 F.3d 956,
                959 (9th Cir. 2012). The statute creates an exception to the
                age limit, however. A state’s duty to provide special
                education to children with disabilities does not extend to
                children aged 3 through 5 or 18 through 21 “to the extent that
                [the duty’s] application to those children would be
                inconsistent with State law or practice, or the order of any
                court, respecting the provision of public education to children
                in those age ranges.” 20 U.S.C. § 1412(a)(1)(B)(I).


                    3
                   In the remainder of our opinion, we use “E.R.K.” to refer to the class
                of Plaintiffs-Appellants as a whole. E.R.K., a class representative, is a
                student with autism who was receiving special-education services from the
                DOE at Roosevelt High School at the time of trial.
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                    We have never interpreted this exception to the IDEA’s
                default age limit, and the text is not completely pellucid.
                What does it mean for the IDEA’s application to students
                aged 18 to 21 to be “inconsistent with State law or
                practice . . . respecting the provision of public education” in
                a state? Id. The corresponding federal regulations are little
                help, as they simply reiterate the statutory language in nearly
                identical terms:

                         The obligation to make [a free and appropriate
                         public education] available to all children
                         with disabilities does not apply with respect to
                         . . . [c]hildren aged 3, 4, 5, 18, 19, 20, or 21 in
                         a State to the extent that its application to
                         those children would be inconsistent with
                         State law or practice . . . respecting the
                         provision of public education to children of
                         those ages.

                34 C.F.R. § 300.102(a).

                    Happily, the IDEA’s legislative history sheds some light
                on the exception’s meaning. See Jonah R. v. Carmona,
                446 F.3d 1000, 1005 (9th Cir. 2006) (“If the statute’s terms
                are ambiguous, we may use canons of construction,
                legislative history, and the statute’s overall purpose to
                illuminate Congress’s intent.”). The Senate Report
                accompanying the 1975 statute4 that created the exception



                  4
                    The legislation was enacted as the Education for All Handicapped
                Children Act. See Pub. L. 94-142, 89 Stat. 773 (1975). That legislation
                amended an earlier statute, the Education of the Handicapped Act. See
                Pub. L. 91-230, 84 Stat. 175 (1970). In 1990, the statute was renamed the
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                 explains that states are free to elect not to provide special
                 education to disabled students between 18 and 21, but only if
                 they also elect not to provide “free public education” to
                 nondisabled students:

                         This exception with respect to handicapped
                         children aged three to five and aged eighteen
                         to twenty-one, inclusive [in 20 U.S.C.
                         § 1412(a)(1)(B)(I)] is intended to exempt
                         states from the provisions of this Act
                         establishing a timetable for providing a free
                         appropriate public education in these age
                         groups in the following circumstances: . . .

                             (2) where a State does not in fact provide
                             or assure the provision of free public
                             education to handicapped children in these
                             age groups; . . . .

                         This exception shall not apply in the
                         following circumstances:

                             (1) where a state does now in fact provide
                             or assure the provision of free public
                             education to non-handicapped children in
                             these age groups . . . .

                 S. Rep. No. 94-168, 1442–43 (1975).

                     In light of this legislative history, we interpret
                 § 1412(a)(1)(B)(I) to mean that Hawaii cannot deny special


                 Individuals with Disabilities Education Act. See Pub. L. 101-476
                 § 901(a)(3), 104 Stat. 1103, 1142 (1990).
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                 education to disabled students aged 18 through 21 if it in fact
                 provides “free public education” to nondisabled students in
                 that range of ages.

                     The fate of Act 163 comes down to whether the diploma
                 programs offered by the Community Schools for Adults
                 constitute “free public education.” Act 163 makes some 20-
                 year-old and all 21-year-old students ineligible for public
                 education in Hawaii. For disabled students, the Act functions
                 as an age limit on eligibility for IDEA services. E.R.K. argues
                 that by providing the GED and CB programs to nondisabled
                 20- and 21-year-olds, Hawaii offers public education on
                 unequal terms. The DOE rejoins that the GED and CB
                 programs are not “free public education” as the IDEA uses
                 that term, so making them available to nondisabled 20- and
                 21-year-olds does not beget a concomitant obligation to
                 publicly educate disabled students of the same ages.

                     To determine whether the adult-education programs are
                 “free public education,” we naturally begin with the text of
                 the IDEA. See Dzyuba v. Mukasey, 540 F.3d 955, 956 (9th
                 Cir. 2008) (“[W]e construe the meaning of a given word by
                 reference to the context of a particular statutory regime.”);
                 see also Brown v. Gardner, 513 U.S. 115, 118 (1994)
                 (“[T]here is a presumption that a given term is used to mean
                 the same thing throughout a statute . . . .”). The IDEA does
                 not offer a statutory definition of “free public education,” but
                 it does explicitly define the closely related phrase “free
                 appropriate public education” as “special education and
                 related services” that:

                        (A) have been provided at public expense,
                        under public supervision and direction, and
                        without charge;
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                         (B) meet the standards of the State
                         educational agency;

                         (C) include an appropriate preschool,
                         elementary school, or secondary school
                         education in the State involved; and

                         (D) are provided in conformity with the
                         individualized education program required
                         under section 1414(d) of this title.

                 20 U.S.C. § 1401(9). Once we strip out those aspects of this
                 definition that clearly relate to the education’s
                 “appropriateness,” as opposed to its “free” and “public”
                 character, we are left with a reliable index of what “free
                 public education” means in § 1412(a)(1)(B)(I). The second
                 and fourth criteria seem to delineate an education’s
                 appropriateness. (Surely an education can be both free and
                 public even if it is inappropriate because it fails to meet state
                 standards or to conform with an individualized education
                 program.) We are left with a bipartite definition: a “free
                 public education” is one that is 1) provided at public expense,
                 under public supervision and direction, and without charge;
                 and 2) involves preschool, elementary, or secondary
                 education.

                     The first prong of this definition is consistent with the
                 plain meaning of “free public education.” A “public”
                 institution is one that is “accessible . . . to all members of the
                 community” and which “provid[es] services to the people . . .
                 under some degree of civic or state control.” Webster’s Third
                 New International Dictionary 1836 (1968). “Free” means
                 “without charge.” Id. at 905. The second prong of the
                 definition—that “free public education” means preschool,
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                 elementary, or secondary education—is not apparent from the
                 plain meaning of the phrase, but is derived from the IDEA’s
                 limited scope. Because the IDEA applies only to preschool,
                 elementary, or secondary education, see 20 U.S.C. § 1401(9),
                 we do not think § 1412(a)(1)(B)(I) refers to public education
                 outside those same categories.

                     The GED and CB programs clearly satisfy the first prong
                 of the definition. The district court found, and neither party
                 disputes, that the Community Schools for Adults are provided
                 at public expense and are free to students. Nor does the DOE
                 deny that the schools operate under its supervision and
                 direction as a public agency.

                      The GED and CB programs also satisfy the second prong
                 because they are programs of secondary school education.
                 The DOE’s own officers acknowledge that the GED and CB
                 high school diploma programs are designed “to ensure that
                 the graduates are prepared for transitions to post secondary
                 education[.]” If students are only able to pursue
                 “postsecondary” education after they earn a high school
                 diploma in the GED or CB programs, it stands to reason that
                 those programs constitute “secondary” education. The record
                 is replete with additional evidence that the DOE considers the
                 GED and CB programs to offer a secondary education for
                 adults. A section of the DOE’s website, titled “What are
                 Community Schools for Adults?”, enumerates the “wide
                 variety of courses” offered by the adult schools. The second
                 item reads: “Secondary education . . . courses to complete
                 your high school graduation requirements.” The DOE’s
                 characterization of the adult school programs comports with
                 the common-sense view that high school diploma programs
                 are quintessentially secondary education, whether they are
                 offered to teenagers or adults. Cf., e.g., 20 U.S.C. § 9201(3)
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                 (describing the purpose of the Adult Education and Family
                 Literacy Act of 1998 as “assist[ing] adults in the completion
                 of a secondary school education”); see also id.
                 § 1001(a)(1)–(2) (noting that an “institution of higher
                 education” is one that “provide[s] a program of education
                 beyond secondary education” and only accepts students with
                 secondary-education diplomas).

                     Our conclusion that the GED and CB programs are a form
                 of public secondary education is buttressed by the fact that
                 the Community Schools for Adults meet the IDEA’s
                 definition of “secondary school.” The IDEA defines
                 “secondary school” as a

                        nonprofit institutional day or residential
                        school, including a public secondary charter
                        school, that provides secondary education, as
                        determined under State law, except that it
                        does not include any education beyond grade
                        12.

                 Id. §1401(27). The record establishes that the Community
                 Schools for Adults are nonprofit day schools that do not
                 educate students beyond grade 12; only students who never
                 graduated from twelfth grade can pursue a GED or CB
                 diploma. And to the extent that Hawaii law substantively
                 defines “secondary education” at all, the GED and CB
                 programs seem to qualify. The state statute defining the
                 “scope of adult and community education programs offered”
                 in Hawaii states that “instructional programs shall be
                 initiated” in various fields, including a program of “secondary
                 education for those adults who, in youth, left school or for
                 some reason had their education curtailed and who now
                 desire to continue their education . . . .” Haw. Rev. Stat.
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                 § 302A-433. The GED and CB programs obviously fulfill this
                 legislative mandate.5

                     We are therefore persuaded that the Community Schools
                 for Adults offer “secondary education”—and hence that the
                 state offers “free public education” to nondisabled students
                 over 18 and under 22.

                     The DOE makes three arguments that, in spite of the
                 statutory text, the Community Schools for Adults do not in
                 fact offer free public education. First, the DOE urges us to
                 distinguish “conventional” or “traditional” secondary
                 education offered in Hawaiian high schools from the less
                 demanding GED and CB programs. To earn an ordinary high
                 school diploma, the DOE points out, students must
                 accumulate 120 credit hours in various academic subjects.
                 The GED and CB diploma programs are structured
                 differently. The GED program consists of a series of targeted
                 preparatory courses in the GED examination subjects, and the
                 CB program is largely nonacademic, focusing instead on
                 personal and vocational skill development. The differences
                 extend to postsecondary opportunities. Both the University of

                    5
                      Of course, the fact that the Community Schools for Adults meet the
                 definition of “secondary schools” under the IDEA does not mean that
                 Hawaii could comply with the IDEA simply by amending its laws to
                 exclude adult-education programs from the ambit of “secondary
                 education.” A state’s definition of “secondary education” determines
                 whether an institution qualifies as a “secondary school” under the IDEA.
                 20 U.S.C. § 1401(27). State law alone, however, does not dictate whether
                 a program is a form of secondary education—and, by extension, whether
                 it constitutes “free public education.” As we have explained, high school
                 diploma programs are paradigmatic examples of secondary education, and
                 Hawaii is not free to reclassify the GED and CB programs as
                 nonsecondary education in an effort to read them out of the definition of
                 free public education.
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                 Hawaii system and the military, for instance, favor students
                 with conventional high school diplomas over students with
                 the GED diploma.

                    The DOE urges that the differences between
                 “conventional” high schools in Hawaii and the Community
                 Schools for Adults are so substantial that both school systems
                 cannot offer secondary education. The district court made
                 much the same argument when it entered judgment in the
                 DOE’s favor: the district court held that the GED and CB
                 programs “do not provide the equivalent of a secondary
                 school education” because the “educational curriculum,
                 requirements, and experience of the adult programs are
                 dramatically different from those of a traditional public high
                 school.”

                     Nothing in the IDEA, however, supports the proposition
                 that a program constitutes “secondary education” or “free
                 public education” only if it is structurally identical to the
                 ordinary public high school curriculum offered to
                 nondisabled students. The DOE’s brief cites no cases or
                 statute in support of the interpretation it proposes. Instead, the
                 DOE asks us to contrive an atextual distinction between
                 authentic and ersatz secondary education and impose it on the
                 statutory text. It is particularly unlikely that the IDEA’s
                 definitions incorporate such a distinction because, as we have
                 noted, the statute construes education broadly. See 20 U.S.C.
                 § 1401(29) (“The term ‘special education’ means specially
                 designed instruction, at no cost to parents, to meet the unique
                 needs of a child with a disability, including . . . instruction
                 conducted in the classroom, in the home, in hospitals and
                 institutions, and in other settings[.]”); see also, e.g., Seattle
                 Sch. Dist., No. 1 v. B.S., 82 F.3d 1493, 1500 (9th Cir. 1996)
                 (noting that the IDEA reflects a holistic concept of
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                 educational benefit, including “the handicapped child’s
                 academic, social, health, emotional, communicative, physical
                 and vocational needs” (internal quotation marks omitted)).
                 Education for high-school-aged students with disabilities
                 often differs dramatically from “conventional” secondary
                 education. See, e.g., Park ex rel. Park v. Anaheim Union High
                 Sch. Dist., 464 F.3d 1025, 1030–31 (9th Cir. 2006) (per
                 curiam) (involving an educational program for a high school
                 student that included a full-time special day class and
                 instruction in “buttoning, zipping and toilet training”). In
                 light of the variety of specialized secondary education the
                 IDEA makes available to disabled students, it is simply
                 implausible that the phrase “free public education” in the
                 § 1412(a)(1)(B)(I) exception refers narrowly to a
                 “conventional” high school curriculum.6

                     Second, the DOE argues that an opinion letter from the
                 United States Department of Education establishes that GED
                 courses are not “secondary education.” The opinion letter
                 states that school districts are “not required to provide [IDEA
                 services to] students who have left traditional secondary
                 education programs and entered a GED test preparation
                 program” unless “the State considers the GED test
                 preparation program to be a part of an appropriate secondary


                    6
                       We are also skeptical that the differences between the diploma
                 programs are as significant as the DOE claims. The record contains a
                 flowchart, prepared by the DOE, which “illustrates the three methods by
                 which the high school diploma may be earned.” The flowchart shows that
                 all three paths—the “Credit Method,” the “GED Test Method,” and the
                 “[CB] Method”—lead to the same result: a “Hawaii Department of
                 Education High School Diploma.” Surely the programs’ common
                 characteristic—that they all lead to “the high school diploma”—is more
                 relevant to their status as “secondary education” than differences in
                 curriculum, structure, and rigor.
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                 education.” The letter does not alter our analysis, because
                 E.R.K. is not arguing that the Community Schools for Adults
                 must provide IDEA services. At most, the letter reflects the
                 United States Department of Education’s view that not all
                 GED preparation programs are necessarily part of an
                 “appropriate secondary education.” The letter sheds no light
                 at all on whether all GED preparation programs constitute
                 secondary education simpliciter. But we need not broach that
                 question, because we have already decided that Hawaii’s
                 GED diploma program is unambiguously a program of
                 secondary education.

                     Finally, the DOE argues that the IDEA’s definition of
                 “transition services,” which school districts must offer when
                 a student ages out of IDEA eligibility, proves that adult
                 education and secondary education are mutually exclusive.
                 The IDEA defines “transition services” as

                        a coordinated set of activities for a child with
                        a disability that . . . is focused on improving
                        the academic and functional achievement of
                        the child with a disability to facilitate the
                        child’s movement from school to post-school
                        activities, including post-secondary education,
                        vocational education, integrated employment
                        (including supported employment), continuing
                        and adult education, adult services,
                        independent living, or community
                        participation . . . .

                 20 U.S.C. § 1401(34) (emphasis added). The DOE argues
                 that, by offering “adult education” as an example of a “post-
                 school activity,” the IDEA’s drafters intended to distinguish
                 adult education from secondary education. But of course it is
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                 self-evident that “adult education” and “secondary education”
                 are not coterminous. Hawaii’s adult schools offer adult-
                 education courses in parenting and sewing,7 but it is unlikely
                 that these courses constitute secondary education. The use of
                 the phrase “adult education” in connection with transition
                 services does not imply mutual exclusivity between “adult
                 education” and “secondary education.”

                     None of the DOE’s arguments sway us from our
                 conclusion that the Community Schools for Adults offer “free
                 public education” to students who do not require IDEA
                 services. The DOE offers, at taxpayer expense, the
                 opportunity for nondisabled 20- and 21-year-olds to complete
                 their secondary educations and earn high school diplomas.
                 Providing IDEA services to disabled children of those ages
                 would therefore be consistent with “State law or practice . . .
                 respecting the provision of public education,” so the state
                 must do so. 20 U.S.C. § 1412(a)(1)(B)(I).

                     Our conclusion is unchanged by the district court’s
                 finding that the DOE does not “usher” or “steer” nondisabled
                 students into the GED and CB programs once they age out of
                 the conventional high schools. As the legislative history
                 makes clear, the question is whether a state “provide[s] or
                 assure[s] the provision of free public education to
                 non-[disabled] children.” S. Rep. No. 94-168, 1442–43. A
                 state’s duty to educate disabled children until they turn 22 is
                 only excused if free public education is foreclosed to disabled


                     7
                       See http://165.248.6.166/data/schoollist_csa.asp (noting that the
                 Community Schools for Adults offer “[h]omemaking and parenting”
                 courses”) (last visited August 1, 2013); http://www.waipahucs.k12.hi.us/
                 courses/2013/Summer%202013/WCSA%20Sum%202013.pdf (listing
                 three sections of a course called “Sewing”) (last visited August 1, 2013).
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                 and nondisabled students alike. Whether a state encourages
                 nondisabled students to take advantage of what free public
                 education is available is irrelevant.

                     Indeed, though their numbers are small—only 3.5% of the
                 general education students affected by Act 163 between 2010
                 and 2012 transitioned to an adult diploma program—the fact
                 that any students at all transitioned directly to the GED and
                 CB programs after aging out of the state high school system
                 confirms that the state “provides” free public education to 20-
                 and 21-year-olds. Those students who made the transition
                 belie the district court’s finding that “the GED and CB
                 programs are not a continuation of a traditional high school
                 education.”

                     By passing the IDEA, Congress intended “to open the
                 door of public education to all qualified children[.]” Cedar
                 Rapids Cmty. Sch. Dist. v. Garret F. ex rel. Charlene F.,
                 526 U.S. 66, 78 (1999) (internal quotation marks and citation
                 omitted). If Hawaii legislators wish to shut the door to
                 students once they turn 20, that is their prerogative—but they
                 must shut them to all students, regardless of disability. Act
                 163 reinstates the benighted two-track system that prevailed
                 before the IDEA was passed, when disabled students were
                 often “totally excluded from schools[.]” Bd. of Educ. of
                 Hendrick Hudson Cent. Sch. Dist., Westchester Cnty. v.
                 Rowley, 458 U.S. 176, 191 (1982) (internal quotation marks
                 and citation omitted). In Hawaii’s two-track system,
                 nondisabled students between the ages of 20 and 22 can
                 pursue the diplomas that eluded them in high school, but
                 students with special needs are simply out of luck.

                     The GED and CB programs—unfettered by the obligation
                 to address the needs of disabled students—are surely much
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                 cheaper to operate than a public-school system with a full
                 complement of special-education services. But the IDEA
                 stands for the principle that exclusion is a false economy
                 unbefitting a society committed to the complete integration of
                 its disabled citizens.

                 2. ADA and Rehabilitation Act claims.

                     E.R.K. next argues that the district court erred when it
                 ruled in the DOE’s favor on his disability discrimination
                 claims.

                     To establish a prima facie case of disability
                 discrimination under the ADA, a plaintiff must prove that:

                        (1) he is an individual with a disability; (2) he
                        is otherwise qualified to participate in or
                        receive the benefit of some public entity’s
                        services, programs, or activities; (3) he was
                        either excluded from participation in or
                        denied the benefits of the public entity’s
                        services, programs, or activities, or was
                        otherwise discriminated against by the public
                        entity; and (4) such exclusion, denial of
                        benefits, or discrimination was by reason of
                        [his] disability.

                 McGary v. City of Portland, 386 F.3d 1259, 1265 (9th Cir.
                 2004) (alteration in original) (quoting Thompson v. Davis,
                 295 F.3d 890, 895 (9th Cir. 2002) (per curiam)) (internal
                 quotation marks omitted). A prima facie case under the
                 Rehabilitation Act is identical, except that the plaintiff must
                 also prove that the relevant program receives federal financial
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                 assistance. See Duvall v. Cnty. of Kitsap, 260 F.3d 1124, 1135
                 (9th Cir. 2001).

                     Under both statutes, a plaintiff who requires an
                 accommodation to meet a program’s essential eligibility
                 requirements can establish the “otherwise qualified” element
                 of the prima facie case only by producing “evidence of the
                 existence of a reasonable accommodation . . . .” See Zukle v.
                 Regents of the Univ. of Cal., 166 F.3d 1041, 1046–47 (9th
                 Cir. 1999) (emphasis added).

                     E.R.K.’s complaint identifies “[t]he DOE’s provision of
                 public education” as the “service, program, or activity” from
                 which he was allegedly excluded. But the only programs the
                 DOE provides on a discriminatory basis are the GED and CB
                 adult education programs; Act 163 forecloses all other public-
                 education programs to disabled and nondisabled students
                 alike. Thus, the question is whether the GED and CB
                 programs are available to disabled individuals “who, with or
                 without reasonable accommodations, meet the essential
                 eligibility requirements to participate.” Pierce v. Cnty. of
                 Orange, 526 F.3d 1190, 1222 (9th Cir. 2008).

                     E.R.K. did not establish a prima facie case of disability
                 discrimination because he failed to produce “evidence of the
                 existence of a reasonable accommodation.” Zukle, 166 F.3d
                 at 1047. E.R.K. did not identify changes to the structure or
                 curriculum of the Community Schools for Adults that would
                 make them generally accessible to disabled students. Instead,
                 the accommodation he proposed was simply that the DOE
                 maintain disabled students’ special-education placements
                 until their twenty-second birthdays. That accommodation
                 would do nothing to help disabled students access the GED
                 and CB programs. Retaining students in their publicly funded
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                 special-education placements might be a reasonable
                 accommodation if E.R.K. were alleging that disabled students
                 are excluded from the Hawaiian public-education system as
                 a whole. But the accommodation would represent a
                 “fundamental” change to the Community Schools for Adults
                 in particular—and the DOE is not required to make
                 fundamental modifications to accommodate disabled
                 students. Alexander v. Choate, 469 U.S. 287, 300 (1985).

                                         Conclusion

                     Through its Community Schools for Adults, the State of
                 Hawaii offers public education to nondisabled students
                 between the ages of 20 and 22. As long as it continues to do
                 so, the IDEA requires the state to continue to provide a free
                 and appropriate public education to disabled students who
                 have not yet obtained the age of 22. The Plaintiffs did not,
                 however, prove that the same result is necessary as a
                 reasonable accommodation. Accordingly, we affirm the
                 district court’s judgment for the DOE on the ADA and
                 Rehabilitation Act claims, and reverse the district court’s
                 judgment for the DOE on the IDEA claim.

                    Costs on appeal shall be awarded to Plaintiffs-Appellants.

                   AFFIRMED in part, REVERSED in part, and
                 REMANDED.
